






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00087-CV






John McJunkin, Appellant



v.



James Jolly Clark, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT


NO. GN203382, HONORABLE SCOTT H. JENKINS, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N



	Appellant John McJunkin and appellee James Jolly Clark have filed a joint agreed
motion to abate this appeal.  In their motion, the parties have informed the court that they have
agreed to the essential terms of a settlement, but need more time to prepare the necessary documents
memorializing the settlement and take other steps to finalize the agreement.  Accordingly, we grant
the motion and abate this appeal; the parties do not have to file their briefs according to the schedule
approved on June 2, 2003.  The parties are instructed to report on the status of the settlement on or
before August 15, 2004.


					                                                                                    


					   W. Kenneth Law, Chief Justice



Before Chief Justice Law, Justices B. A. Smith and Puryear


Filed:   October 31, 2003


